                   Case 2:13-cv-00193 Document 775-30 Filed on 11/19/14 in TXSD Page 1 of 1
From                                  Peters Joe
To                                    McCraw Steven MacBride                    Cheryl Bodisch        Robert                     Nolte    Candace

CC                                    DPS Government Relations
Sent                                  7102013 44749 PM
Subject                               FW EIC Certificates



FYI



From Watkins            Paul

Sent Wednesday             July   10 2013 445 PM
To Peters Joe
Cc Bell Stephen           Winkley       Salestus        Berkley Johnnie          Silva     Samuel Valenzuela                            Estella   Valdez Tomas          Hubbard   Barbara

Garcia Joseph          Smith Janie Melcher              Lori    Gomez Enrique              Mastracchio    JoeAnna                        Ron    Grahovec     Crawford John Vinger
Tom Cesinger Katherine Hunter Stephanie                            Wells Charles Barber David                                   Muniz    Barbara Segundo           Carolina

Subject        EIC Certificates



5 inquiries today

1    issuance    today



                                                                                     10 July EIC Report

                    Issuance               0
      1A
                       Inquiry             0

                    Issuance               0
      1B
                       Inquiry             1
                                                   Arlington      DL office had        a   customer   inquiry                   about    the   EIC at 230 pm today

                    Issuance               0
      2A
                       Inquiry             0


                    Issuance               0
      2B
                       Inquiry             1       15 year old       in   Conroe requested to be issued                            an election       certificate

                    Issuance               0
       3
                                           3       2    in
                                                             Brownsville    1   in
                                                                                     Corpus Christi      None of them qualified
                       Inquiry

                    Issuance               0
       4
                       Inquiry             0

                    Issuance               0
       5
                       Inquiry             0


                    Issuance               0
      6A
                       Inquiry             0



      6B
                    Issuance               1       In   Lampasas          CSR MaryBeth Rhyan             issued                   one    1     Election   Certificate


                       Inquiry             0

    Total   EICs Issued    Today           1




    Total   EIC Inquiries Today            5

    Total   EICs Issued   to   Date        2

    Total   EIC Inquiries to Date         27




Paul       B Watkins
Dep Asst Director                                                                      2:13-cv-193
                                                                                                           exhibitsticker.com




DriverLicense       Division                                                           09/02/2014
Texas Department of Public Safety

                                                                                      DEF1467
paulwatkinsOdpstexasgov
5124245413          o
5127481488          c

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